Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 1 of 9 PageID #: 7




    EXHIBIT A
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 2 of 9 PageID #: 8
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 3 of 9 PageID #: 9
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 4 of 9 PageID #: 10
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 5 of 9 PageID #: 11
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 6 of 9 PageID #: 12
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 7 of 9 PageID #: 13
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 8 of 9 PageID #: 14
Case 2:22-cv-00455 Document 1-1 Filed 10/17/22 Page 9 of 9 PageID #: 15
